4:03-cr-03132-RGK-DLP            Doc # 101         Filed: 06/28/05   Page 1 of 6 - Page ID # 475
                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                      Case Number 4:03cr3132

                                                        USM Number 18239-047

LUIS HERRERA
                        Defendant
                                                        Michael J. Hansen

                                                        Defendant’s Attorney


                       AMENDED JUDGMENT IN A CRIMINAL CASE
                ON MOTION OF THE GOVERNMENT AFTER INITIAL SENTENCING
                      (For Offenses Committed On or After November 1, 1987)

Date of Original Judgment:
(Or Date of Last Amended Judgment)

Reason for Amendment:
      Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))

THE DEFENDANT pleaded guilty to count(s) I and II of the Indictment on 3/25/04.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                             Date Offense              Count
          Title, Section & Nature of Offense                  Concluded              Number(s)


 21 USC 841(a)(1) and 21 USC 841(b)(1) and                     8/22/2003                 I
 18 USC 2 - Possession with intent to distribute
 methamphetamine

 21 USC 853 and 18 USC 2                                       8/22/2003                 II
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

[X] Government’s motion (filing 95) for reduction of sentence pursuant to Rule 35(b) is granted.

Final order of forfeiture filed on 06/02/2004 as to Count(s) II of the indictment.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.
                                                               Date of Imposition of Sentence:
                                                                                     June 27, 2005

                                                                       s/ Richard G. Kopf
                                                                       United States District Judge

                                                                             June 28, 2004
4:03-cr-03132-RGK-DLP
Defendant: LUIS HERRERA       Doc # 101     Filed: 06/28/05     Page 2 of 6 - Page IDPage
                                                                                      # 476
                                                                                          2 of 6
Case Number: 4:03cr3132


                                      IMPRISONMENT

The defendant’s sentence of imprisonment is reduced from the original sentence to Time Served.

The Court makes the following recommendations to the Bureau of Prisons:

1.     The Court recommends in the strongest possible terms that the defendant participate in
       the 500-hour Intensive Drug Treatment Program or any similar drug treatment program
       available.

2.     That the defendant be incarcerated in a camp-like facility such as Yankton, South
       Dakota.

The defendant is remanded to the custody of the United States Marshal.


                           ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______

                                                          _____________________________
                                                                  Signature of Defendant

                                          RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of
_______________, _____ to _________________________________, with a certified copy of
this judgment.

                                                   __________________________________
                                                           UNITED STATES WARDEN

                                                By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                       CERTIFICATE

It is hereby certified that a copy of this judgment was served upon the defendant this ____ day
of _______________, ______

                                                   __________________________________
                                                           UNITED STATES WARDEN


                                                By:__________________________________
4:03-cr-03132-RGK-DLP
Defendant: LUIS HERRERA         Doc # 101      Filed: 06/28/05      Page 3 of 6 - Page IDPage
                                                                                          # 477
                                                                                              3 of 6
Case Number: 4:03cr3132


                                   SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three
(3) years.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                       STANDARD CONDITIONS OF SUPERVISION

1.     The defendant shall not leave the judicial district without the permission of the court or
       probation officer;
2.     The defendant shall report to the probation officer and shall submit a truthful and complete
       written report within the first five days of each month;
3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the
       instructions of the probation officer;
4.     The defendant shall support his or her dependents and meet other family responsibilities;
5.     The defendant shall work regularly at a lawful occupation, unless excused by the probation
       officer for schooling, training, or other acceptable reasons;
6.     The defendant shall notify the probation officer at least ten days prior to any change in
       residence or employment;
7.     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
       use, distribute, or administer any controlled substance or any paraphernalia related to any
       controlled substances, except as prescribed by a physician;
8.     The defendant shall not frequent places where controlled substances are illegally sold,
       used, distributed, or administered;
9.     The defendant shall not associate with any persons engaged in criminal activity and shall
       not associate with any person convicted of a felony, unless granted permission to do so
       by the probation officer;
10.    The defendant shall permit a probation officer to visit him or her at any time at home or
       elsewhere and shall permit confiscation of any contraband observed in plain view of the
       probation officer;
11.    The defendant shall notify the probation officer within seventy-two hours of being arrested
       or questioned by a law enforcement officer;
12.    The defendant shall not enter into any agreement to act as an informer or a special agent
       of a law enforcement agency without the permission of the court;

13.    As directed by the probation officer, the defendant shall notify third parties of risks that
       may be occasioned by the defendant’s criminal record or personal history or characteristics
       and shall permit the probation officer to make such notifications and to confirm the
4:03-cr-03132-RGK-DLP
Defendant: LUIS HERRERA          Doc # 101       Filed: 06/28/05        Page 4 of 6 - Page IDPage
                                                                                              # 478
                                                                                                  4 of 6
Case Number: 4:03cr3132

      defendant’s compliance with such notification requirement.

                           SPECIAL CONDITIONS OF SUPERVISION

1.    Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely
      refraining from excessive use of alcohol, the defendant shall not purchase or possess, use,
      distribute, or administer any alcohol, just the same as any other narcotic or controlled substance.

2.    The defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or
      night, with or without a warrant, at the request of the probation officer to determine the presence of
      alcohol and/or controlled substances, firearms or any other contraband. Any such items found may
      be seized by the probation officer. This condition may be invoked with or without the cooperation
      of law enforcement officers.

3.    The defendant shall attend, pay for and successfully complete any diagnostic evaluations, treatment
      or counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
      substance abuse, as directed by the probation officer.

4.    The defendant shall provide the probation officer with access to any requested financial information.

5.    Pursuant to 18 U.S.C. § 3583 (d), the defendant shall submit to a drug test within fifteen (15) days
      of release on supervised release and at least two (2) periodic drug tests thereafter to determine
      whether the defendant is using a controlled substance. Further, the defendant shall submit to such
      testing as requested by any probation officer to detect the presence of alcohol or controlled
      substances in the defendant’s body fluids and to determine whether the defendant has used any of
      those substances. Based on the defendant’s ability to pay, the defendant shall pay for the collection
      of urine samples to be tested for the presence of alcohol and/or controlled substances in an amount
      to be determined by the probation officer.

6.    The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
      Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha,
      Nebraska, (402) 661-7555, within seventy-two (72) hours of release from confinement, and,
      thereafter, as directed by the probation officer.
4:03-cr-03132-RGK-DLP
Defendant: LUIS HERRERA        Doc # 101     Filed: 06/28/05     Page 5 of 6 - Page IDPage
                                                                                       # 479
                                                                                           5 of 6
Case Number: 4:03cr3132

                           CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

      Total Assessment                     Total Fine                  Total Restitution

     $100.00 ($50 PAID)


                                             FINE

       No fine imposed.


                                        RESTITUTION

       No restitution was ordered.
4:03-cr-03132-RGK-DLP
Defendant: LUIS HERRERA            Doc # 101        Filed: 06/28/05    Page 6 of 6 - Page IDPage
                                                                                             # 480
                                                                                                 6 of 6
Case Number: 4:03cr3132

                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay; payment of the total criminal monetary penalties
shall be due as follows:

        The defendant shall pay the special assessment in the amount of $100.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of
the court, unless otherwise directed by the court, the probation officer or the United States
attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska,
P.O. Box 83468, Lincoln, NE 68501.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest (7) penalties, and
(8) costs, including cost of prosecution and court costs.        The def endant s h a l l f o r f eit the
defendant’s interest in the following property to the United States:

                                 $440.00 in U. S. currency




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS

By ______________________________________Deputy Clerk
